Case 9:18-cv-80176-BB Document 1060 Entered on FLSD Docket 11/13/2023 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  ______________________/

                             ORDER ON MOTION TO WITHDRAW

         THIS CAUSE is before the Court upon the Motion and Notice of Withdrawal of Counsel,

  ECF No. [1058] (“Motion”), filed on November 9, 2023 by Samantha M. Licata, Esq. In the

  Motion, Ms. Licata represents that she will no longer be with the law firm Boies Schiller Flexner

  LLP as of November 10, 2023 and requests that she be terminated as counsel of record for

  Plaintiffs. The Court has carefully reviewed the Motion, the record in this case, the applicable law,

  and is otherwise fully advised.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

           1. The Motion, ECF No. [1058], is GRANTED.

           2. The Clerk is DIRECTED to remove Samantha M. Licata, Esq. from receiving

               CM/ECF filings in this case.

           3. Plaintiffs shall continue to be represented by his remaining counsel.

         DONE AND ORDERED in Chambers at Miami, Florida, on November 9, 2023.



                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record
